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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

KIMBEL DOUGLAS,

              Plaintiff,

v.                                                      CASE NO:
                                                        HON:

OAKLAND COUNTY, ERIN ALLEN, JOSHUA SWALWELL, RICHARD
RACKLEY, JORDAN MAY, EMILY ROOT, and JONATHAN ELGES, in their
individual and official capacities,

              Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES
 CHRISTOPHER J. TRAINOR (P42449)
 AMY J. DEROUIN (P70514)
 JONATHAN A. ABENT (P78149)
 Attorneys for Plaintiff
 9750 Highland Road
 White Lake, MI 48386
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THERE IS NO OTHER PENDING OR RESOLVED CIVIL ACTION ARISING OUT OF THE
        TRANSACTION OR OCCURRENCE ALLEGED IN THE COMPLAINT.

                           COMPLAINT AND JURY DEMAND

         NOW COMES Plaintiff, KIMBEL DOUGLAS, by and through his

attorneys, CHRISTOPHER TRAINOR & ASSOCIATES, and for his Complaint

against the above-named Defendants states as follows:




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1.       Plaintiff is a resident of the City of Detroit, County of Wayne, State of

         Michigan.

2.       Defendant OAKLAND COUNTY is a municipal corporation and

         governmental subdivision organized and existing under the laws of the State

         of Michigan.

3.       Defendants ALLEN, SWALWELL, RACKLEY, MAY, ROOT, and ELGES

         were and/or are correctional officers and/or deputies employed by Defendant

         OAKLAND COUNTY and/or the Oakland County Jail and were acting under

         the color of law, in their individual and official capacities, and within the

         course and scope of their employment at all times mentioned herein.

4.       All relevant events giving rise to this lawsuit occurred in the County of

         Oakland, State of Michigan.

5.       This lawsuit arises out of Defendants’ violation of Plaintiff’s federal

         constitutional rights as secured by the Fourth and Fourteenth Amendment as

         they applies to the States through the Fourteenth Amendment to the United

         States Constitution and consequently, Plaintiff has a viable claim for damages

         under 42 U.S.C. § 1983.

6.       Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 1331 [federal

         question] and 28 U.S.C. § 1343 [civil rights].




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7.       That the amount in controversy exceeds Seventy-Five Thousand Dollars

         ($75,000.00), not including interest, costs, and attorney fees.

                                         FACTS

8.       Plaintiff realleges and incorporates by reference each and every paragraph of

         this Complaint as though fully set forth herein.

9.       On or about June 18, 2021, Plaintiff was arrested for misdemeanor assault by

         the Hazel Park Police Department.

10.      On June 18, 2021, Plaintiff was transported from the Hazel Park Police

         Department to the Oakland County Jail.

11.      While being booked into the Oakland County Jail, Plaintiff was subject to

         unreasonable and excessive force by the individual Defendants including, but

         not limited to, being slammed face-first onto the floor on two separate

         occasions (both in the jail hallway and in a solitary cell), being struck in the

         head/jaw area, and having his arms forcibly yanked at unnatural angles away

         from his body on two separate occasions (both in the jail hallway and in a

         solitary cell).

12.      Plaintiff was at all relevant times compliant and non-resistant, and posed no

         threat to the individual Defendants nor anyone else.

13.      The individual Defendants then stripped Plaintiff of his clothes and left him,

         naked, in a solitary cell.


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14.   All criminal charges against Plaintiff related to the subject incident were

      dismissed.

15.   As a result of Defendants’ unlawful actions and/or inactions, Plaintiff

      sustained injuries and damages.

16.   That during the course of the aforementioned events, Plaintiff was a pretrial

      detainee.

                            COUNT I
                         42 U.S.C. § 1983
           VIOLATION OF THE FOURTEENTH AMENDMENT
                  ALL INDIVIDUAL DEFENDANTS

17.   Plaintiff realleges and incorporates by reference each and every paragraph of

      this Complaint as though fully set forth herein.

18.   The Due Process Clause of the Fourteenth Amendment prevents the use of

      excessive physical force against pretrial detainees and imposes a duty on

      police/corrections officials to take reasonable measures to guarantee the safety

      of those under their care.

19.   The individual Defendants violated Plaintiff’s clearly established and

      federally protected rights as set forth under the United States Constitution and

      the Amendments thereto, including, but not limited to, the Fourteenth

      Amendment of the United States Constitution to be free from unreasonable

      searches and seizures mainly to be free from excessive use of force, when they



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      employed unnecessary and unreasonable force which resulted in significant

      injuries to Plaintiff.

20.   At all relevant times herein, the individual Defendants acted under color of

      law, within the scope and course of their employment, and in their official and

      individual capacities.

21.   The actions of the individual Defendants were at all times objectively

      unreasonable in violation of Plaintiff’s clearly established rights under the

      Fourteenth Amendment to the United States Constitution which proximately

      resulted in significant injuries to Plaintiff.

22.   The individual Defendants are not entitled to qualified immunity because they

      violated Plaintiff’s clearly established Fourteenth Amendment right to be free

      from excessive use of force.

23.   As a proximate result of the violations and/or deprivations of Plaintiff’s

      constitutional rights by the individual Defendants, Plaintiff has a viable claim

      for compensatory and punitive damages pursuant to 42 U.S.C. § 1983 together

      with costs, interests, and attorney fees as set forth in 42 U.S.C. § 1988.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter an award in his favor and against Defendants in an amount in excess of

Seventy-Five Thousand Dollars ($75,000.00) exclusive of costs, interest, and

attorney fees.


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                                COUNT II
                       CONSTITUTIONAL VIOLATIONS
                       DEFENDANT OAKLAND COUNTY

24.   Plaintiff realleges and incorporates by reference each and every paragraph of

      this Complaint as though fully set forth herein.

25.   Defendant OAKLAND COUNTY permitted customs, practices, and/or

      policies which resulted in the violations of Plaintiff’s constitutional rights as

      complained of herein.

26.   These customs, practices, and/or policies included, but were not limited to,

      the following:

      a.    Failing to adequately train and/or supervise its corrections officers so

            as to prevent violations of citizens’ constitutional rights;

      b.    Failing to adequately train and/or supervise corrections officers

            regarding the proper use of force; and

      c.    Failing to adequately supervise, review, and/or discipline corrections

            officers whom Defendant OAKLAND COUNTY knew or should have

            known were violating or were prone to violate citizens’ constitutional

            rights, thereby permitting and/or encouraging its corrections officers to

            engage in unlawful conduct.

27.   Defendant OAKLAND COUNTY’s conduct was so reckless so as to

      demonstrate deliberate indifference for whether an injury resulted.


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28.   Defendant OAKLAND COUNTY’s acts and/or indifference and/or omissions

      were the direct and proximate cause of Plaintiff’s injuries.

29.   The facts as set forth in the preceding paragraphs constitute a violation of

      Plaintiff’s constitutional rights; and pursuant to 42 U.S.C. § 1983, Plaintiff

      has a viable claim for compensatory and punitive damages, costs, and attorney

      fees as set forth in 42 U.S.C. § 1988.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter an award in his favor and against Defendants in an amount in excess of

Seventy-Five Thousand Dollars ($75,000.00) exclusive of costs, interest, and

attorney fees.

                                Respectfully Submitted,
                                CHRISTOPHER TRAINOR & ASSOCIATES

                                 s/ Christopher J. Trainor           .




                                CHRISTOPHER J. TRAINOR (P42449)
                                AMY J. DEROUIN (P70514)
                                JONATHAN A. ABENT (P78149)
                                Attorneys for Plaintiff
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Dated: June 13, 2023
CJT/jaa




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

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              Plaintiff,

v.                                                      CASE NO:
                                                        HON:

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                             DEMAND FOR JURY TRIAL




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      NOW COMES Plaintiff, KIMBEL DOUGLAS, by and through his

attorneys, CHRISTOPHER TRAINOR & ASSOCIATES, and hereby makes a

Demand for Trial by Jury in the above-captioned matter.

                               Respectfully Submitted,
                               CHRISTOPHER TRAINOR & ASSOCIATES

                                s/ Christopher J. Trainor          .




                               CHRISTOPHER J. TRAINOR (P42449)
                               AMY J. DEROUIN (P70514)
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